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               IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                     DIVISION OF ST. THOMAS & ST. JOHN

JENNIFER DUNCAN, individually and on               Civil Action No. _______
behalf of all others similarly situated.
                                                    CLASS ACTION COMPLAINT FOR
                 Plaintiff,                         RECOVERY OF UNITED STATES
                                                    VIRGIN ISLANDS INCOME TAX
      v.                                            REFUNDS, WRIT OF MANDAMUS,
                                                    DECLARATORY JUDGMENT &
                                                    PERMANENT INJUNCTION

THE UNITED STATES VIRGIN ISLANDS,                  JURY TRIAL DEMANDED
an unincorporated territory of the United
States, THE HONORABLE KENNETH
MAPP, Governor of the United States Virgin
Islands, MARVIN PICKERING, the Director
of the Virgin Islands Bureau of Internal
Revenue, and VALDAMIER COLLENS, the
Commissioner of the Department of Finance
of the United States Virgin Islands.

                 Defendants.



                              CLASS ACTION COMPLAINT

     PLAINTIFF Jennifer Duncan (“Plaintiff”), through counsel, alleges as follows:

                     NATURE OF THE CASE & INTRODUCTION

  1. The government of the United States Virgin Islands (the “USVI”), through elected and

     appointed officials in its executive and legislative branches, acknowledges that it owes

     USVI taxpayers income tax refunds for past tax years.

  2. The USVI estimates that it owes at least $97,849,992.74 in outstanding income tax refunds

     for the tax years 2007 through 2017, inclusive.

  3. On August 24, 2017, Taxpayers for Accountability in Government, LLC (“TAG”), a

     limited liability company organized in the USVI issued a public records request to the

     Defendants in this matter, requesting, inter alia, that the Defendants provide “[a]ll



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   documents reflecting the total amount of tax refunds owed by the BIR cumulatively for the

   past ten years.” In response, the Defendants provided this chart:




4. As of March 16, 2018, the USVI estimates that 19,653 income tax returns claiming refunds

   have not had the refunds claimed paid.

5. On information and belief, the March 16, 2018 estimates do not include an unknown

   number of income tax returns which have not been processed by the Virgin Islands Bureau

   of Internal Revenue (the “BIR”).

6. Under local law (33 V.I.C. § 1102(b)), the USVI is required to set aside 10% of all income

   taxes collected for the purpose of paying income tax refunds (the “set aside account”).

7. On February of 2018 a case was brought styled as TAXPAYERS FOR ACCOUNTABILITY

   IN GOVERNMENT, LLC v. MAPP, et al., case no. ST-18-cv-91 (V.I. Superior Ct.).

8. In case no. ST-18-cv-91 MAPP and the other governmental defendants provided their Rule

   26 disclosures to the plaintiff (Taxpayers for Accountability in Government), which




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   included a chart titled “Government of the Virgin Islands, Analysis of Income Tax Set

   Aside, For the Periods Covering Fiscal Years 2011-2017.”

9. The chart is reproduced in full below:




10. During the income tax years 2011 through 2017, inclusive, the USVI collected

   $2,824,015,291.00 in income taxes.

11. During the income tax years 2011 through 2017, inclusive, the USVI set aside

   $128,805,805.96, leaving the income tax refund account with a $153,595,723.00 deficit.

   During 2017, the USVI contributed no money to the set aside account.

12. On April 18, 2018, COLLENS was deposed in the case styled Perkins v. The United States

   Virgin Islands, et al., case no. 3:17-cv-25 (DVI).

13. At his April 18th deposition, COLLENS testified as follows:

   //




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14. Indeed, COLLENS testified that:




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15. Federal law, including the Revised Organic Act, allows USVI taxpayers to sue the USVI

   for their income tax refunds.

16. USVI law allows USVI taxpayers to sue the USVI to demand that the USVI properly fund

   its income tax refund account.

17. Plaintiff, on behalf of herself and the proposed Class defined below, seek payment of the

   income tax refunds owed by the USVI to its taxpayers.




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             JURISDICTION, VENUE & DEMAND FOR JURY TRIAL

18. This Court has jurisdiction over this action pursuant to 48 U.S.C. § 1612, 28 U.S.C. §§

    1331, 1367, 1343, and 2201. This Court has personal jurisdiction pursuant to 18 U.S.C.

    §1965(b) over all of the Defendants by virtue of at least one Defendant residing on St.

    Thomas, Virgin Islands.

19. Venue is proper under 28 U.S.C. § 1391 in this Court as the Defendants reside in this venue,

    and this is a class action suit against the United States Virgin Islands.

20. A trial by jury is demanded pursuant to Fed. R. Civ. P. 38.

                                       THE PARTIES

21. The government of the United States Virgin Islands was created through the enactment of

    the Revised Organic Act (48 U.S.C. § 1541 et. seq.). The government of the United States

    Virgin Islands is the entity to whom income taxes are paid by United States Virgin Islands

    taxpayers pursuant to the Naval Services Appropriation Act of 1921 (48 U.S.C. § 1397).

22. The Honorable Kenneth Mapp (“MAPP”) is the Governor of the Virgin Islands.

23. Director Marvin Pickering (“PICKERING”) is the Director of the Bureau of Internal

    Revenue (the “BIR”).

24. Commissioner Valdamier A. Collens (“COLLENS”) is the Commissioner of the

    Department of Finance (the “DOF”).

25. Plaintiff is a United States citizen. Plaintiff is over the age of eighteen (18) and is a United

    States Virgin Islands taxpayer. She filed a timely and valid annual income tax return with

    the BIR for the income tax year ending December 31, 2016 (the “2016 Tax Year” and

    “Plaintiff’s 2016 Income Tax Return”). Plaintiff claimed a refund for overpayment of taxes




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   on the Plaintiff’s 2016 Income Tax Return. Defendants have not paid Plaintiff the refund

   claimed on Plaintiff’s 2016 Income Tax Return.

                                        THE CLASS

26. Plaintiff brings this Complaint individually and as a class action pursuant to Rule 23 of the

   Federal Rules of Civil Procedure.

27. The class Plaintiffs represent (the “Class”) is initially defined as:

   All persons and entities who: (a) have filed a timely claim for refund of an
   overpayment of the United States Virgin Islands Territorial Income Tax for any tax
   year from at least 2003 to the present, (b) have not been given by the government
   of the United States Virgin Islands or the BIR, via certified or registered mail, a
   timely notice of disallowance of such claims, and (c) have not been paid such
   refunds by the government of the United States Virgin Islands.


28. Excluded from the proposed Class is any Judge to whom this case is assigned as well as

   his or her immediate family.

29. Numerosity of the Class – Fed. R. Civ. P. 23(a)(1).

       a. According to the government of the United States Virgin Islands, as of March 16,

           2018, the government of the United States Virgin Islands has 18,164 income tax

           returns claiming refunds which are unpaid totaling $37,083,8954.10 for the 2016

           Tax Year.

       b. According to the government of the United States Virgin Islands, the government

           of the United States Virgin Islands owes $97,849,992.74 in income tax refunds for

           all years since 2007.

       c. According to the government of the United States Virgin Islands, the government

           of the United States Virgin Islands, the government of the United States Virgin

           Islands set aside no money for the payment of income tax refunds during 2017.




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             Therefore, the United States Virgin Islands will be unable to pay, or otherwise fail

             to pay, some or all of the income refunds claimed for the income tax year ending

             December 31, 2017 (the “2017 Tax Year”).

       d. The Class that Plaintiff represents is therefore so numerous such that joinder of

             each member of the Class is impracticable.

30. Existence and Predominance of Common Questions - Fed. R. Civ. P. 23(a)(2), 23(b)(3).

   Questions of law and fact common to the Class predominate over any questions affecting

   only individual Class members, including whether the government of the United States

   Virgin Islands can decline or postpone its nondiscretionary duty to promptly pay income

   tax refunds to those who have filed timely and valid tax returns and refund claims.

31. Typicality - Fed. R. Civ. P. 23(a)(3). The claims of Plaintiff are typical of the claims of the

   Class members because, among other things, Plaintiff filed a timely and valid income tax

   return claiming a refund during the Class period and has not received that income tax

   refund.

32. Adequacy of Representation - Fed. R. Civ. P. 23(a)(4). Plaintiff will fairly and adequately

   protect the interests of the Class because her interests are aligned with those of the Class

   members they seek to represent. Plaintiffs have retained counsel competent and

   experienced in complex tax litigation in and related to the United States Virgin Islands, and

   intend to prosecute this action vigorously on Class members' behalf.

33. Superiority- Fed. R. Civ. P. 23(b)(3). A class action is superior to other available methods

   for the fair and efficient adjudication of the controversy, and individual joinder of all

   members of the Class is impracticable. Moreover, the cost to the court system of such

   individualized litigation would be substantial. Individualized litigation would likewise




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   present the potential for inconsistent or contradictory judgments and would result in

   significant delay and expense to all parties and could cause the court to hear virtually

   identical lawsuits. By contrast, the conduct of this action as a class action presents far fewer

   management difficulties, conserves the resources of the parties and the court, protects the

   rights of each Class member and maximizes recovery to them.

34. In the alternative, the Class may be certified under the provisions of Fed. R. Civ. P. 23(b)(l)

   and/or 23(b)(2) and/or 23(c)(4) because:

       a. The prosecution of separate actions by individual Class members would create a

           risk of inconsistent or varying adjudications with respect to individual Class

           members, which would establish incompatible standards of conduct for the

           Defendants;

       b. The prosecution of separate actions by individual Class members would create a

           risk of adjudications with respect to them which would, as a practical matter, be

           dispositive of the interests of other Class members not parties to the adjudications,

           or substantially impair or impede their ability to protect their interests;

       c. Defendants have acted or refused to act on grounds generally applicable to the

           Class, thereby making appropriate final injunctive relief with respect to the Class

           as a whole; and

       d. Some or all of the particular issues identified above are such that it is appropriate

           to maintain this case as a class action.

                                          CLAIMS

  Claim 1 by Plaintiff on Behalf of the Class against the United States Virgin Islands
                                   (Suit for Refund)

35. Paragraphs 1 – 34 are incorporated herein by reference.




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36. The Naval Services Appropriation Act of 1921 (48 U.S.C. § 1397) specifically provides

   for an income taxation scheme in the United States Virgin Islands which is known as the

   “Mirror Code”. Under the Mirror Code, the income tax laws in effect in the United States

   are the income tax laws government the United States Virgin Islands territorial income tax

   system.

37. Taxpayers in the United States Virgin Islands consist of United States Virgin Islands

   residents, who pay income tax on their worldwide income to the United States Virgin

   Islands, and citizens and permanent residents of the United States who have income

   sourced to the United States Virgin Islands or effectively connected with a United States

   Virgin Islands trade or business.

38. By the government’s own admissions, it owes $97,849,992.74 in income tax refunds for

   tax years since 2007.

39. Upon information and belief, the government has not paid certain income tax refunds owed

   to United States Virgin Islands taxpayers for tax years dating back at least to 2003. Upon

   the opportunity for further discovery, it may be revealed that the United States Virgin

   Islands has not paid income tax refunds for periods preceding 2003.

40. Most of the money owed as income tax refunds is comprised of refunds that correspond to

   valid and timely filed income tax returns and refund claims.

41. Plaintiff and the Class have satisfied all prerequisites to filing this suit, including duly and

   timely filing the requisite claims for refunds or credits, and are entitled to be paid such

   refunds that are owed them up to the current tax period, and are entitled to maintain this

   civil suit against the United States Virgin Islands for the recovery of such refunds, pursuant

   to, inter alia, 26 U.S.C. § 7422; 48 U.S.C. § 1612; 26 U.S.C. § 6532; and 26 U.S.C. § 6511.




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 42. Defendant’s failure to maintain the separate income tax refund account as required under

    33 V.I.C. § 1102(b) has contributed the Defendant’s failure to pay income tax refunds as

    those refunds become due.

 43. Plaintiff and the Class have suffered and will continue to suffer economic hardship from

    Defendant's failure to promptly pay the refunds due Plaintiff and the Class.

 44. Plaintiff has incurred, and will continue to incur, expenses for costs and attorneys' fees

    necessary for the investigation, institution, and prosecution of this action. Such fees and

    expenditures will result in benefits to all members of the Class Plaintiff represents.

Claim 2 by Plaintiff Individually against Pickering and Collens in their official capacities
                             (Petition for Writ of Mandamus)

 45. Plaintiff re-alleges paragraphs 1 – 34 and 36 – 44 of this Complaint.

 46. PICKERING is required under 33 V.I.C. § 1102(b), as part of his duties as Director of the

    BIR, to maintain an account setting aside 10% of income taxes collected by the BIR.

 47. On information and belief, the DOF in fact maintains this account, and the final decision

    as to whether this refund set aside account is funded is COLLENS’s.

 48. On information and belief, this refund set aside account is maintained as a separate bank

    account by the DOF.

 49. PICKERING and COLLENS have failed to set aside the required 10% of income taxes

    collected, and the refund set aside account is underfunded by $153,595,723.00.

 50. The Defendant’s inability to pay Plaintiff’s income tax refunded is directly caused by this

    refund set aside account being underfunded.

 51. Plaintiff therefore requests that this Court issue a Writ of Mandamus requiring that

    PICKERING and COLLENS set aside 10% of the income taxes collected for the purpose

    of paying income tax refunds.




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    Claim 3 by Plaintiff Individually and as Class Representative against Pickering, Mapp and
                                Collens in their Official Capacities
                  (Complaint for Declaratory Relief & a Permanent Injunction)

     52. Plaintiff re-alleges paragraph 1-34, 36-44, and 46-51 of this Complaint.

     53. On April 10, 2017, the St. Thomas Source issued part 1 of a series on the USVI budget

         crisis. Exhibit 1.1

     54. The April 10th St. Thomas Source article reported that: “Along with this year’s $110 million

         deficit, the USVI is facing ongoing structural deficits of around $170 million per year out

         of a locally funded budget of around $850 million. It has outstanding debt of more than $2

         billion, not counting the debts of the government-owned Water and Power Authority,

         which is also struggling financially. It has a $3 billion unfunded pension liability with the

         pension system projecting it will cease being able to pay full pensions by 2023. And for

         the first time, after two rounds of ratings downgrades in less than a year, lenders have

         refused to buy V.I. government bonds, making it very difficult to smooth over the gaps.”

         Exhibit 1.

     55. The April 10th article also reported that: “Budget Director Nellon Bowry told senators in

         2015 that deficits have plagued the government for at least the last 20 years. ‘Left

         unattended, this annual deficit has morphed from a manageable $9.2 million as recently as

         FY 2006 to a fiscally frightening peak of $577.6 million in FY 2010. Accelerated first by

         the Great Recession of 2008 and later by the closing of Hovensa refinery, the accumulated

         General Fund deficiency for the five fiscal years between FY 2008 and FY 2013 totaled

         approximately $1.5 billion; an annual average of almost $300 million. The root causes of

         this structural imbalance have not been proactively addressed. Rather, the annual shortfalls


1
 Available at https://stthomassource.com/content/2017/04/10/the-v-i-budget-crisis-how-did-we-get-here-how-do-
we-get-out/ (last accessed August 16, 2018).




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   have been financed by ad hoc combinations of inter-fund transfers and by formal and

   informal debt,’ Bowry said in 2015.” Exhibit 1.

56. The April 10th article also reported that: “But debts did not begin in 2006 and there have

   been large deficits before 2006 too. That increase was largely a continuation of a long-term

   trend. Debt also doubled in the previous eight years, from $530.5 million in 1998 to $1.1

   billion in 2006.” Exhibit 1.

57. The April 10th article also reported that then Governor deJongh “defended a plan for

   borrowing in his January 2010 State of the Territory Address, [deJongh] said the

   government had $234 million fewer dollars to spend over the previous fiscal year than the

   year before. ‘To put this in perspective, $234 million is almost half of the cost of salaries

   and benefits of our government workers for a full year,’ [deJongh] said.” Exhibit 1.

58. The April 10th article also reported that “In May 2010, the news was not better and deJongh

   said in a radio address the government needs about $1.3 billion a year to function, but had

   collected only about $759 million – a half-billion dollar shortfall. [deJongh] said revenues

   – including taxes, fees and fund contributions were down 27 percent.” Exhibit 1.

59. The April 10th article included the following chart:

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    60. On April 16, 2017, the St. Thomas Source issued part 2 of a series on the USVI budget

        crisis. Exhibit 2.2

    61. The April 16th article reported contained the following chart, which demonstrates that

        personal income tax income has been, and continues to be, the largest source of revenue

        for the USVI.

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2
 Available at https://stthomassource.com/content/2017/04/16/the-v-i-budget-crisis-part-2-the-hovensa-effect/ (last
accessed August 16, 2018).




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    62. On April 24, 2017, the St. Thomas Source issued part 3 of a series on the USVI budget

        crisis. Exhibit 3.3

    63. The April 24th article reported that: “The USVI is also facing a $3 billion unfunded pension

        liability and a pension plan projected to cease being able to pay full pensions by 2023.”

        Exhibit 3.

    64. The April 24th article reported that: “For several years, GERS officials and outside analysts

        have projected it will sell all its assets and be unable to make full monthly pension

        payments by 2025 at the latest, possibly even a year or two sooner. If the government does

        not solve its deficit problem, any solutions that are enacted will fail as the government uses

        those funds for immediate needs.” Exhibit 3.




3
 Available at https://stthomassource.com/content/2017/04/24/the-v-i-budget-crisis-part-3-the-gers-time-bomb/ (last
accessed August 16, 2018).




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    65. The April 24th article also reported that: “The government stopped paying both employer

        and employee pension contributions in December, GERS Administrator Austin Nibbs told

        the GERS trustees March 1.” Exhibit 3.

    66. To make matter worse, the April 24th article report that once the assets of GERS “is sold

        off, the pension payments are legally the responsibility of the V.I. government and will add

        $130 million or more to the annual budget deficit.” Exhibit 3.

    67. Indeed, the April 24th article reported that MAPP said “‘There is no solution to the GERS

        financial condition if there is no solution to the government’s fiscal situation,’ MAPP said

        at an April 19 press conference on going after tax delinquents. If the government cannot

        fix its ‘fiscal blight’ it cannot fix GERS, [MAPP] said.” Exhibit 3.

    68. On May 1, 2017, the St. Thomas Source issued part 4 of a series on the USVI budget crisis.

        Exhibit 4. 4

    69. The May 1st article reported “what the USVI spends its budget on, large line items, 2004-

        2017” and included the following chart:

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4
 Available at https://stthomassource.com/content/2017/05/01/the-v-i-budget-crisis-part-4-debt-or-spending-what-to-
worry-about/ (last accessed August 16, 2018).




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    70. On December 25, 2017, the St. Thomas Source issued part 16 of a series on the USVI

        budget crisis. Exhibit 5.5

    71. The December 25th article reported that: “Early in 2017, the U.S. Virgin Islands was facing

        massive structural deficits, fast-rising debt, multiple ratings downgrades, an inability to

        borrow and no clear path to solvency. Hurricanes Irma and Maria have made the situation




5
 Available at https://stthomassource.com/content/2017/12/25/the-v-i-budget-crisis-part-16-irma-and-maria-make-a-
bad-situation-worse/ (last accessed August 16, 2018).




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   dramatically worse, with the V.I. government projecting a loss of $1.5 billion in revenues

   over the next three years.” Exhibit 5.

72. The December 25th article included a chart titled: “V.I. government primary revenue

   sources FY2011-2017 and projected 2018-2020”:




73. The December 25th article reported that federal aid flowed into the Territory but “even with

   every dollar of assistance currently on the table, the economic blow to the territory is so

   severe that, even after adding $371 million in federal disaster loans, the central government

   is looking at a shortfall of at least $203 million and no plausible way to make up the

   difference.” Exhibit 5.

74. The BIR is the executive agency of the USVI which is charged with enforcing the income

   tax laws of the USVI.

75. The DOF is the executive agency of the USVI which is charged with issuing payments on

   behalf of the USVI.




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76. Under the Mirror Code, taxpayers in the USVI have a right to receive income tax refunds

   claimed on original filed tax returns within six months after such returns are filed unless

   the BIR has proposed an adjustment of such return.

77. PICKERING, MAPP and COLLENS have failed to make income tax refund payments to

   the members of the Class.

78. PICKERING, MAPP and COLLENS respective failures to make income tax refund

   payments to the members of the Class is, upon information and belief, based (at least in

   part) on the fact that the Defendants are using income tax overpayments from members of

   the class as a “bridge loan” to make up the above described budget shortfalls.

79. Indeed, based on upon the information reported by the St. Thomas source, see ¶¶ 52-72,

   supra, (a) The USVI is facing on-going budget deficits (b) The USVI debt in 2016 was

   more than double tax revenues plus rum matching funds (see paragraph 58 chart); (c)

   Personal income tax revenues are at least double the next largest revenue source (see

   paragraph 60 chart); (d) The GVI will be obligated to pay $130M in additional GERS

   payments, perhaps as soon as 2020; (e) If the GVI paid the $98M it owes in back taxes,

   such would be greater than the yearly budget for the majority of the largest governmental

   agencies (see paragraph 68 chart); (f) Post hurricanes Irma and Maria, the USVI projected

   revenue has been cut in half (see paragraph 71 chart); (g) Even with federal aid the USVI

   will still have a shortfall of over 200% of the outstanding income tax refunds that it admits

   that it owes.

80. PICKERING and COLLENS failed to contribute any funds to the refund set aside account

   during 2017.




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81. These failures on behalf of PICKERING, MAPP and COLLENS were under color of

   territorial law, with each acting in their official capacity.

82. It is a certainty that PICKERING, MAPP and COLLENS will be unable to pay income tax

   refunds due to Plaintiff and other Class Members claimed on such individuals’ 2017

   income tax returns (and other income tax returns that have been filed and are past the six-

   month statutory period) because the Defendants are using class members’ income tax

   refunds to bridge chronic budget shortfalls.

83. The Mirror Code is a “pay as you go” income tax system. USVI taxpayers are required to

   make estimated tax payments throughout the year. For statutory employees, this is

   accomplished through income tax withholding on wages paid to such employees. For self-

   employed individuals, this is accomplished through quarterly estimated tax payments.

84. Under the Mirror Code, a penalty may be assessed against any USVI taxpayer who fails to

   make estimated tax payments of at least 90% of his or her total income tax liability by the

   end of each year.

85. The Class members have in common that they were “over-withheld”, i.e. all Class members

   paid more in estimated income tax payments than each Class member, in fact, owed in

   income tax liability.

86. The Mirror Code anticipates that Class members will be paid income tax refunds for such

   over withheld amounts within six months of the filing of each Class member’s income tax

   return.

87. Excluded from the Class are individuals who were not “over-withheld” in a given tax year,

   i.e. individuals who paid in less than 100% of such person’s overall income tax liability in




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   a given tax year. Such a person, by definition, will not be owed an income tax refund by

   the Defendants in a year in which such person is not over-withheld.

88. Therefore, two classes of people exist in the USVI: 1) the Class members, who are over

   withheld on their personal income taxes, and 2) those individuals who are not over withheld

   on their personal income taxes. In other words, there are those that are owed an income

   tax refund by the USVI and those that do not.

89. The USVI uses income tax overpayments as bridge loans in which the lender (i.e. each

   Class member) had no choice but to make the loan.

90. The Equal Protection Clause of the 14th Amendment to the U.S. Constitution is made

   applicable to the USVI by the Revised Organic Act.

91. The Equal Protection Clause guarantees all persons subject to the jurisdiction of the United

   States equal protection of the laws.

92. Class members (i.e. those who have been over withheld on their personal income taxes and

   are still owed that overpayment) have been (and currently are) disproportionally (in

   comparison to those taxpayers who are not due an income tax refund) shouldering the

   burden of the USVI’s financial woes in a manner that violates their rights for equal

   protection under the law in violation of the Equal Protection Clause of the 14th Amendment

   made applicable by the Revised Organic Act.

93. The Defendants have violated the Equal Protection Clause by forcing the Class members

   to loan money to the government of the USVI while allowing those who were not over

   withheld on their income taxes to avoid such loans.




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94. 42 U.S.C. § 1983 allows the Plaintiff and the Class to sue for equitable relief for violations

   of the law by PICKERING, MAPP and COLLENS in their official capacity as officers of

   the USVI for violations of the Plaintiff and the Class’s rights under law.

95. PICKERING, MAPP and COLLENS respective actions (individually and collectively) of

   not paying income tax refunds qualifies as arbitrary discrimination and enforcement of the

   income tax laws applicable in the Virgin Islands (i.e., the Mirror Code) through its

   improper execution.

96. This Court has the power to declare that the Defendants are in violation of the Mirror Code

   and the Revise Organic Act and are in violation of Section 1983 in light of their respective

   roles in administering the Mirror Code in a manner that violates the Equal Protection

   Clause.

97. Plaintiff and the class have no adequate remedy at law. Requiring taxpayers to bring tax

   refund suits every year offers no solution because the problem is systemic and cannot be

   addressed piecemeal. Instead, the type of overarching change that only permanent

   injunctive relief can provide is required.

98. This Court has the power and should enter a permanent injunction against the Defendants

   because the Class members are suffering irreparable injury, viz., their rights under the

   Equal Protection Clause have been and currently are being violated.

                                        TOLLING

99. Any statute of limitations that might otherwise bar any Class member's claims is tolled by

   Defendant's failure to notify Plaintiff and members of the Class concerning the processing

   status of their tax returns and refund claims, and/or Defendant's concealment of any intent

   not to pay the income tax refunds owed to USVI taxpayers. Class members could not have




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      reasonably discovered Defendant’s intent not to honor and/or act upon timely and valid

      income tax returns and refund claims, and this action is filed within the statutory period, if

      any, following the first date upon which Plaintiffs and the Class could reasonably have

      discovered that Defendant did not intend to timely process and pay Plaintiffs' and Class

      members' valid income tax refunds.

                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually, and on behalf of the Class, prays that this

Honorable Court:

   1. Certify the proposed Class and appoint Plaintiffs and her counsel to represent the Class;

   2. Enter judgment against Defendant in favor of the Plaintiff and the Class;

   3. Adjudge, decree, and award Plaintiff and the Class all amounts duly owed by Defendant

      for all unpaid income tax refunds for the tax years within the Class period;

   4. Enter a Writ of Mandamus requiring MAPP, PICKERING and COLLENS to comply with

      33 V.I.C. § 1102(b) and set aside 10% of all income taxes collected by the Defendant in a

      separate account for the payment of income tax refunds;

   5. Declare that MAPP, PICKERING and COLLENS have violated the Plaintiff’s Class

      members’ rights under the Equal Protection Clause.

   6. Enter a Permanent Injunction requiring MAPP, PICKERING and COLLENS to pay

      income tax refunds claimed on individual tax returns within six months of the filing of that

      return unless the BIR proposes an adjustment to said return;

   7. Award Plaintiff and the Class reasonable attorneys' fees and costs of suit, as well as pre-

      judgment and post-judgment interest as permitted by law; and

   8. Grant such additional and further relief as the Court deems proper and just.




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Respectfully submitted this 17th day of August, 2018.



By:_/s/ Joseph A. Diruzzo______                      By:/s/ Alex Golubitsky___________
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